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5S44. (Rev 00 Case 2:20-cv-00018-SJF-SIL Co COVER SHE

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of ‘Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
The County of Suffolk

 

Kristy Pflug, Anne Di lorio and Joseph Montaldo

(b) County of Residence of First Listed Plaintiff Suffolk
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Moser Law Firm, PC
3 School Street, Ste 207B, Glen Cove, New York 11542 516.671.1150

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) lil. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government % 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o 1 © 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 US. Government O14 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 o05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O 3 © 3 Foreign Nation GO 6 06
Foreign Country

 

 

   
 

IV. BT URE OF SUIT (Place an “X” in One Box a

 

    

  

 

 

© 110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug R Related Seizure 0 422 Aopeal 28 USC 158 O01 375 False Claims Act
© 120 Marine 0 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 {0 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability 0 367 Health Care/ O 400 State Reapportionment
150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical Ff PERTY | _) 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
C151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
C1 152 Recovery of Defaulted Liability (1 368 Asbestos Personal O 840 Trademark O 460 Deportation
Student Loans O 340 Marine Injury Product 0 470 Racketeer Influenced and
(Excludes Veterans) (© 345 Marine Product Liability UO oe _.. SOCIAL | . Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY {0 710 Fair Labor Standards O 861 HIA (1395ff) © 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 0 370 Other Fraud Act 0) 862 Black Lung (923) O 490 Cable/Sat TV
© 160 Stockholders’ Suits © 355 Motor Vehicle 0 371 Truth in Lending 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) | O 850 Securities/Commodities/
G 190 Other Contract Product Liability CO 380 Other Personal Relations 0 864 SSID Title XVI Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act 0 865 RSI (405(g)) © 890 Other Statutory Actions
0 196 Franchise Injury (1 385 Property Damage 1 751 Family and Medical O 891 Agricultural Acts
© 362 Personal Injury - Product Liability Leave Act © 893 Environmental Matters
Metical Malpractice © 790 Other Labor Litigation O 895 Freedom of Information
: : : PR “ _{0 791 Employee Retirement . 5 : Act
o 710 Land Condenitiatior 1 440 0 Other Civil Rights Habeas Corns Income Security Act 0 870 Taxes (U.S. Plaintiff O 896 Arbitration
0 220 Foreclosure 0 441 Voting OF 463 Alien Detainee or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment % 442 Employment 1 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations 0 530 General (4 950 Constitutionality of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -] 535 Death Penalty ' : State Statutes
Employment Other: 0 462 Naturalization Application
0 446 Amer. w/Disabilities -| 1 540 Mandamus & Other ]( 465 Other Immigration
Other 0 550 Civil Rights Actions
O 448 Education 0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

M1 Original 2 Removed from O 3  Remanded from 1 4 Reinstatedor O 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened paustiiee District Litigation
‘specify,

 

VI. CAUSE OF ACTION

42 USC 12111

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:
Disasbility Discrimination - Employment

 

 

 

 

 

VII. REQUESTED IN Cl CHECK IF THIS IS A CLASS ACTION /°"10,000 $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. 10,000.00 JURY DEMAND: {Yes ONo
VII. RELATED CASE(S)

IF ANY CREE an >

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DATE SIGNATURE OF A YO CO)
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FOR omnis UPE ONLY
RECEIPT # AMOUNT sonvmodk FP JUDGE MAG. JUDGE
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Local Arbinht@SQul28? DateVaAGQLGn soak n-exveptiond ACiishslEKing mbneyldduged ba wrdrdhoult RMR eked of sBAGE!ID #: 47

exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration es

 

], Steven J Moser , counsel for Plaintiff , do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

monetary damages sought are in excess of $150,000, exclusive of interest and costs,

the complaint seeks injunctive relief,

[J the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section Vill on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County? [] Yes VY] No

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? YW] Yes Cl No
b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? MZ] Yes No

C) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
received:

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader oe does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County? A es No

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

 

BAR ADMISSION

 

| am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

YW Yes Cl No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

O Yes (If yes, please explain Vv No

 
  

aK
| certify the accuracy9

Signature:

 

T act Modified: 11/97/9017
